 Case: 1:22-cv-01457 Document #: 92 Filed: 11/13/22 Page 1 of 1 PageID #:2837

                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                               Eastern Division

KTM AG
                                                          Plaintiff,
v.                                                                     Case No.:
                                                                       1:22−cv−01457
                                                                       Honorable Matthew
                                                                       F. Kennelly
The Individuals, Corporations, Limited Liability
Companies, Partnerships, and Unincorporated
Associations Identified on Schedule A Hereto, et al.
                                                          Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Sunday, November 13, 2022:


        MINUTE entry before the Honorable Matthew F. Kennelly: Plaintiff's claims
against the following defendants are voluntarily dismissed without prejudice: NewNew
MT Store, Shop3106033 Store, AR Fairings & Customized Store, and Estelle motorcycle
Store. The deadline for filing any motion for default judgment as to any defendant(s)
remaining in the case is 12/8/2022. (mk)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
